           Case 1:20-cr-10111-RWZ Document 277 Filed 05/13/22 Page 1 of 3




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                                                          May 13, 2022

VIA ECF

The Honorable Rya W. Zobel
United States District Judge
John Joseph Moakley United States Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02110

          Re:    United States v. Lieber, 20-CR-10111 (RWZ)
                 Notice of Supplemental Authority

Dear Judge Zobel:

        We represent the defendant in this case, Professor Charles Lieber. We write to bring to
the Court’s attention certain supplemental authority -- United States v. Toth, No. 21-1009 (1st
Cir. April 29, 2022), decided after the Court heard oral argument on the motions now pending in
this case.

         On our pending Rule 29 motion, we argue (among other things) that the Treasury
regulation on which the government relies in this case, 31 C.F.R. § 1010.350 (the “Regulation”),
is void because it is inconsistent with the statute on which the government relies, 31 U.S.C. §
5314(a), which is part of the Bank Secrecy Act (the “BSA”). More specifically, we argue that
the Regulation, promulgated in 1977, requires a U.S. person to report a “relationship” with a
foreign bank. The statute, by contrast, enacted in 1982, requires a U.S. person to report a
“transaction” with a foreign bank. A “transaction” and a “relationship” are different things; the
latter reaches much further than the former. This portion of our argument concludes:

          “It is well-settled that when a regulation conflicts with a subsequently enacted
          statute, the statute controls and voids the regulation.” Kahn, 5 F.4th at 175,
          quoting Norman v. United States, 942 F.3d 1111, 1118 (Fed. Cir. 2019).

ECF 259 at 17.1



1
    The full cite for Kahn is United States v. Kahn, 5 F.4th 167 (2d Cir. 2021).
         Case 1:20-cr-10111-RWZ Document 277 Filed 05/13/22 Page 2 of 3

The Hon. Rya W. Zobel
May 13, 2022
Page 2

        In Toth, the defendant failed to file a report of her foreign bank account. After an audit,
the Internal Revenue Service (the “IRS”) found that failure willful, and imposed a penalty of
more than $2 million. When the defendant refused to pay, the government commenced a civil
action to recover the penalty.

        The district court granted summary judgment in favor of the government. On appeal, the
defendant challenged the amount of the penalty, contending that a Treasury regulation,
promulgated in 1987, capped the maximum penalty at $100,000. The First Circuit rejected that
contention, holding that the IRS and the district court had correctly applied certain legislation,
enacted after 1987, which raised the maximum penalty above $100,000. The 1987 regulation
conflicted with those later enactments of the BSA. The regulation, therefore, did not “remain[]
operative in the face of the statutory changes . . . made after the regulation’s issuance.” Toth,
Opinion at 21; see id. at 22 (holding that “the statutory amendments . . . superseded the
regulation[]”).

        Toth thereby adopted the rule of law that we urge here on behalf of Professor Lieber: “It
is well settled that subsequently enacted or amended statutes supersede prior inconsistent
regulations.” Toth, Opinion at 25, quoting Norman, 942 F.3d at 1118. Indeed, Toth cites both
Kahn and Norman, which we cited in our brief, and quotes Norman, using language that is
substantively identical to the language that we quoted in our brief.

        To be sure, Toth differs from our case: In Toth, the defendant urged that the (earlier)
regulation was not superseded by the (later) statute; here, by contrast, Professor Lieber urges that
the (earlier) Regulation was superseded by the (later) statute. This difference, however, does not
distinguish Toth, which adopts a neutral principle, which we urge here: When a regulation
conflicts with a later statute, “the statute controls and voids that regulation.” ECF 259 at 17
(internal quotation marks omitted).

                                                      Respectfully submitted,

                                                       /s/ Kenneth A. Caruso
                                                      Kenneth A. Caruso

cc:    All Counsel (by ECF)
         Case 1:20-cr-10111-RWZ Document 277 Filed 05/13/22 Page 3 of 3




                               CERTIFICATION OF SERVICE

        I hereby certify that on May 13, 2022, a copy of the foregoing was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent
by e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
access this filing through the Court’s CM/ECF System.

Dated: New York, New York
       May 13, 2022
                                                      /s/ Kenneth A. Caruso
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